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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

 PHILIP R. MCHUGH,                                 )   Case No. 25-CV-01468
                                                   )
                              Movant,              )   Related to: Philip R. McHugh v. Fifth Third
                                                   )   Bancorp, et al., No. 1:21-cv-00238 (S.D.
 v.                                                )   Ohio)
                                                   )
 RHR INTERNATIONAL, LTD.                           )   Judge Steven C. Seeger
                                                   )
                              Respondent.          )   Magistrate Judge Beth W. Jantz


      MEMORANDUM IN SUPPORT OF MOTION TO COMPEL OUT OF STATE
           DISCOVERY OR, IN THE ALTERNATIVE, TO TRANSFER


       Movant, Philip R. McHugh, by and through his local counsel Sabreena El-Amin of CTM

Legal Group and attorneys Peter A. Saba and Joshua M. Smith (pro hac vice applications pending)

of SSP Law Co., L.P.A.,. and pursuant to Federal Rules of Civil Procedure 26, 34, and 45, hereby

submits this Memorandum in Support of his Motion to Compel non-party, RHR International, Ltd.

(“RHR”), to electronically produce the documents requested in the September 18, 2024 subpoena

served upon RHR.

I.     INTRODUCTION

       Philip McHugh worked at Defendant Fifth Third Bank for 34 years, starting as a bank

associate in October, 1986, and working his way up to Executive Vice President, becoming a

member of the enterprise committee and reporting directly to the Bank’s President, Chief

Executive Officer, and Board Chairman at the time, Defendant Greg Carmichael. McHugh lead all

14 of the Bank’s regions, along with Wealth & Asset Management, Business Banking, Community

and Economic Development, and Corporate Communications. Despite his qualifications and

significant responsibilities (many of which were those typically reserved for the bank’s President),
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McHugh (age 55) was denied a promotion to President and CEO in favor of a substantially younger

candidate, Tim Spence (age 40), and shortly thereafter was constructively discharged from the

bank.

        Respondent RHR International’s role in this promotion decision was to assess candidates

for the President and CEO role in 2020, and present those findings to Fifth Third’s board of

directors in order to make a decision. Initially in March 2020, RHR was retained to assess three

candidates—Spence, McHugh, and the Bank’s CFO at the time, Tayfun Tuzun. However, in June

2020, Fifth Third directed that these assessments be limited to one candidate only—Spence—and

to solely present the findings of that assessment to the board at its September 2020 board meeting.

RHR conducted that assessment, presented a summary to the board of directors, and Spence was

then promoted into the role one month later.

II.     PRODCEDURAL HISTORY AND EXTRAJUDICIAL EFFORTS

        A. Original and Supplemental Subpoenas to RHR

        On April 1, 2022, Plaintiff served a subpoena on RHR for the production of documents

related to its executive assessment planning work that it performed for Defendant Fifth Third. The

categories of documents requested are provided in Exhibit A to the subpoena (the “Original RHR

Subpoena”), but primarily seek documents and communications related to executive assessments

performed on Timothy Spence, Phil McHugh, and any other candidates for the position of

President or CEO of Fifth Third between January 1, 2016 to the present. (Exhibit 1 to the Affidavit

of Joshua M. Smith – April 1, 2022 Original RHR Subpoena).

        On April 14, 2022, RHR’s counsel sent a brief letter refusing to comply, claiming the

Original RHR Subpoena was improper because it was outside the 100-mile geographic limit under

Rule 45(c)(2), and making additional blanket objections that the subpoena “calls for the production
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of information and documents that are privileged,” and that the documents requested are

“necessarily in the possession of named parties,” “irrelevant to the named parties’ claims and

defenses,” and “disproportionate to the needs of the case.” (Exhibit 2 to Smith Aff. – April 14,

2022 Corr. From Christopher Bloom to Plaintiff’s Counsel).

       Plaintiff’s counsel responded on April 25, 2022, confirming that the requested documents

could be produced via mail or e-mail as indicated in the Original RHR Subpoena, thus rendering

the 100-mile geographic limitation inapplicable. (Exhibit 3 to Smith Aff. – April 25, 2022 Corr.

From Plaintiff’s Counsel to Bloom). Plaintiff also responded that he was not aware of any

applicable privileges to the documents, and that the documents are relevant and discoverable, given

that Defendants claim to have made their decision to promote Spence over Plaintiff based in part

upon the assessments performed by RHR. (Id.).

       Following initial Board of Director and Bank executive employee depositions, on April 21,

2023, Plaintiff learned that RHR had also conducted an executive assessment of Defendant

Carmichael immediately prior to his promotion to CEO in 2015. As a result, Plaintiff served a

supplemental subpoena on RHR (the “Supplemental RHR Subpoena”), with a courtesy copy to

RHR’s counsel, which included requests for documents related to Carmichael’s assessment.

(Exhibit 4 to Smith Aff. – April 21, 2023 Supplemental RHR Subpoena). On May 3, 2023, RHR’s

counsel responded, reiterating its blanket objections as to the 100-mile geographic limit,

privacy/confidentiality concerns, relevance, and that the requested documents are in the parties’

possession. (Exhibit 5 to Smith Aff. – May 3, 2023 Corr. From Bloom to Plaintiff’s Counsel). As

to the privilege objections, RHR now claimed that the documents are subject to the therapist-

patient privilege. (Id.). Yet again, RHR refused to produce a single document.
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        On January 30, 2024, in a further effort resolve these issues, Plaintiff sent another

correspondence to RHR’s counsel, confirming that Plaintiff would be seeking court enforcement

of the Original and Supplemental RHR Subpoenas if documents were not produced. (Exhibit 6 to

Smith Aff. – January 30, 2024 Corr. From Plaintiff’s Counsel to Bloom). When no response from

RHR was received, Plaintiff then filed a Motion to Compel in the Southern District of Ohio on

February 7, 2024 (the “Original Motion”). (See Doc. # 40, PAGEID # 2364-2378).

        After significant briefing, on August 7, 2024, the Court ultimately dismissed the Original

Motion1 without prejudice to re-filing, determining as a threshold matter that the appropriate place

of compliance for the Original and Supplemental RHR Subpoenas was Chicago—not Cincinnati.

(See Doc. # 68, PAGEID # 3123-3129).

        B. Modified Subpoena to RHR

        As a result of the Court’s August 7, 2024 order, and in an attempt to resolve RHR’s 100-

mile geographic limit objections, Plaintiff served an updated subpoena to RHR requesting the same

documents with production in Chicago (the “Modified RHR Subpoena”). (Exhibit 7 to Smith Aff.

– September 18, 2024 Modified RHR Subpoena). On October 4, 2024, RHR’s counsel responded,

again refusing to produce the requested documents and reiterating its blanket objections. (Exhibit

8 to Smith Aff. – October 4, 2024 Corr. From Bloom to Plaintiff’s Counsel).

        C. Extrajudicial Efforts related to Chicago Subpoena

        On October 25, 2024, Plaintiff’s counsel sent a letter to RHR’s counsel inviting a phone

call in an effort to resolve the ongoing discovery dispute. (Exhibit 9 to Smith Aff. – October 25,

2024 Corr. From Plaintiff’s Counsel to Bloom). Counsel conferred on November 5, 2024 via




1
 The Court’s August 7, 2024 Order also denied RHR’s Motion for Leave to File a Sur-Reply in Response to Plaintiff’s
Reply in Support of his Motion to Compel as moot.
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conference call, and Plaintiff’s counsel sent an e-mail re-capping the conference and identifying

the outstanding issues discussed, including the following:

   •    Plaintiff’s counsel re-capped the request for production of any assessments of
        Plaintiff performed by RHR (see Exhibit 7, Requests 9-12), based upon prior
        discovery indicating that the original intentions of Fifth Third and RHR were to
        have Plaintiff and another executive assessed alongside Mr. Spence. Because
        RHR’s counsel confirmed that their client would provide a verified response that
        no such responsive documents exist, this issue was resolved.

   •    Plaintiff’s counsel re-iterated the request for all communications between RHR and
        Fifth Third in 2020 (the year the assessment was conducted) (see Exhibit 7,
        Requests 3, 7, 11, 13-15, 24), and voiced concerns regarding a gap in those
        communications between March 18, 2020 and June 8, 2020 based upon documents
        previously requested from Fifth Third which were not produced. Fifth Third’s
        counsel responded and indicated it is not aware of any such documents, and RHR
        objected to searching its records or producing any materials given Fifth Third’s
        response.

   •    Plaintiff’s counsel re-iterated the request for draft and final assessments as to Mr.
        Spence in 2020. (See Exhibit 7, Requests 1-2). RHR’s counsel agreed to circle back
        with their client regarding this request, but ultimately informed Plaintiff that RHR
        declined to search for or produce any non-final versions of the Spence assessments.

   •    Plaintiff’s counsel also re-iterated the request for draft and final assessments as to
        Mr. Carmichael in 2015. (See Exhibit 7, Requests 18-20). In an attempt to alleviate
        RHR’s confidentiality objections related to the requests, Plaintiff offered that such
        production could be done with confidential and/or attorney’s eyes only designations
        under the terms of the parties’ Stipulated Protective Order. However, RHR ignored
        Plaintiff’s offer and instead informed Plaintiff that it would decline to search for,
        and thus decline to produce, the requested documents.

   •    Plaintiff’s counsel similarly offered the use of confidential and/or attorney’s eyes
        only designations under the parties’ Stipulated Protective Order with respect to the
        requests for the underlying documents used/consulted in preparing RHR’s
        assessments (Modified RHR Subpoena Requests 4, 16-17, and 28), but again, RHR
        flatly refused to produce the documents.

   •    Lastly, Plaintiff’s counsel re-iterated his request for draft and final versions of the
        CEO Profiles prepared in connection with Mr. Spence’s 2020 assessment and in
        connection with Mr. Carmichael’s 2015 assessment. (See Exhibit 7, Requests 21-
        24). Plaintiff’s counsel initially raised concern regarding potentially unproduced
        draft versions of the 2020 CEO Profile, Fifth Third’s counsel responded, clarifying
        the production concerns, and this issue was resolved. However, with respect to the
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        request for the draft versions of the 2015 CEO Profile, RHR simply repeated its
        blanket relevance objection and refused to produce the requested documents.

(Exhibit 10 to Smith Aff. – November 6, 2024 E-mail from Plaintiff’s Counsel to RHR’s Counsel;

Exhibit 11 to Smith Aff. – November 20, 2024 E-mail from RHR’s Counsel to Plaintiff’s

Counsel).

        Through the use of extrajudicial efforts, Plaintiff has been able to narrow the scope of the

subpoena to (1) underlying documents used/consulted in preparing the assessment of Tim Spence

in 2020 (Exhibit 7, Requests 4, 16-17, 28); (2) documents relating to Greg Carmichael’s

assessment in 2015 (Exhibit 7, Requests 18-20); and (3) communications between RHR and Fifth

Third between March 18, 2020 and June 24, 2020 (Exhibit 7, Requests 3, 7, 11, 13-15, 24).

Unfortunately, RHR has maintained its objections as to these three categories of documents and

has refused to produce even a single responsive document over the course of 2+ years.

III.    MOTION TO COMPEL PRODUCTION OF DOCUMENTS SUBPOENAED
        FROM RHR INTERNATIONAL, LTD.

        Fed. R. Civ. P. 34(c) and 45 permit subpoenas to non-parties for the production of

documents relevant to the litigation. See Fed. R. Civ. P. 34(c)(“As provided in Rule 45, a nonparty

may be compelled to produce documents and tangible things or to permit an inspection.”). “[T]he

scope of discovery under a [Rule 45] subpoena is the same as the scope of discovery under Rule

26.” Hendricks v. Total Quality Logistics, LLC, 275 F.R.D. 251, 253 (S.D. Ohio 2011); See also

FireBlok IP Holdings, LLC v. Hilti, Inc., No. 19 CV 50122, 2021 U.S. Dist. LEXIS 221225, at *4

(N.D. Ill. Aug. 10, 2021)(“The limits of production under a subpoena are essentially the same as

the scope of discovery generally under Fed. R. Civ. P. 26, which provides that parties may obtain

discovery regarding any nonprivileged matter that is relevant to any party’s claim or defense and

proportional to the needs of the case.”); Fed. R. Civ. P. 45 advisory committee notes to 1991
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amendment (“The non-party witness is subject to the same scope of discovery under this rule as

that person would be as a party to whom a request is addressed pursuant to Rule 34.”).

        Fed. R. Civ. P. 26(b) provides that a party may obtain discovery “regarding any

nonprivileged matter that is relevant to any party’s claim or defense and proportional to the needs

of the case.” Fed. R. Civ. P. 26(b)(1). “[T]he scope of discovery under the Federal Rules of Civil

Procedure is traditionally quite broad.” Lewis v. ACB Bus. Servs., Inc., 135 F.3d 389, 402 (6th Cir.

1998); See also Ziemack v. Centel Corp., No. 92 C 3551, 2995 U.S. Dist. LEXIS 18192, at *2

(N.D. Ill. Dec. 6, 1995)(“The scope of discovery should be broad in order to aid the search for the

truth. The Federal Rules of Civil Procedure allow discovery regarding any non-privileged matter

that is relevant to the subject matter of the action.”); Fed. R. Civ. P. 26(b)(1)(“Information within

this scope of discovery need not be admissible in evidence to be discoverable.”).

        Since all of RHR’s objections have previously been briefed, for the Court’s convenience

and to avoid unnecessary repetition of the issues, Plaintiff has attached the Original Motion to

Compel briefings filed in the underlying lawsuit, Philip R. McHugh v. Fifth Third Bancorp, et al.,

No. 1:21-cv-00238 (S.D. Ohio), in the Southern District of Ohio. (See Plaintiff’s Motion to

Compel, Doc. # 40, PAGEID # 2364-2378; RHR’s Response to Motion to Compel, Doc. # 59,

PAGEID # 2517-25352; Plaintiff’s Reply in Support of Motion to Compel, Doc. # 61, PAGEID #

2545-25563; RHR’s Motion for Leave to File Sur-Reply in Response to Plaintiff’s Reply in

Support of Motion to Compel, Doc. # 62, PAGEID # 2583-25854; RHR’s Memorandum in Support

of Motion for Leave to File Sur-Reply, Doc. # 63, PAGEID # 2591-2593; Plaintiff’s Memorandum

in Opposition to RHR’s Motion for Leave to File Sur-Reply, Doc. # 64, PAGEID # 2594-2601;


2
  See also Exhibit 1 to RHR’s Response to Motion to Compel, Doc. # 59-1, PAGEID # 2537-2541.
3
  See also Affidavit of Joshua M. Smith, Doc. 61-1, PAGEID # 2557-2582.
4
  See also Exhibit A to RHR’s Motion for Leave to File Sur-Reply – Proposed Sur-Reply in Opposition to Plaintiff’s
Motion to Compel, Doc. # 62-1, PAGEID # 2586-2590.
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RHR’s Reply Memorandum in Support of Motion for Leave to File Sur-Reply , Doc. # 65,

PAGEID # 2602-2608).

       Since the filing of that Original Motion, and as a result of Plaintiff’s further extrajudicial

efforts, Plaintiff has been able to narrow the scope of the subpoena to three outstanding categories

of documents: (1) the documents underlying RHR’s assessment of Spence; (2) documents related

to the 2015 Carmichael assessment; and (3) any communications between RHR and Fifth Third

between March 18, 2020 and June 24, 2020. RHR has objected to the production of such

documents, and those objections are addressed below.

       A. Documents underlying 2020 Spence Assessment

       RHR has repeatedly objected to the production of these underlying documents that were

used in preparing the 2020 Spence Assessment, on the basis that such documents are generally

“privileged, proprietary, and confidential,” and contain “sensitive” and “personal” information of

individuals who are not parties to this case. RHR has further objected to the production of these

documents on the basis that the documents are irrelevant as these materials were not shared the

Bank’s Board of Directors.

       Neither objection is sufficient to serve as a basis for RHR to deny production of the

requested documents. None of the underlying documents used or consulted in preparing Spence’s

executive assessment (i.e., underlying data, scoring/analysis of psychometric tools used, problem-

solving-approach assessments, leadership-style assessments, benchmarked experience analyses,

360 feedback interviews, behavioral interviews, etc.) are protected by any recognized privilege

from discovery, and, the general “proprietary” or “confidential” nature of the documents as

espoused by a producing party is simply not a valid basis for prohibiting disclosure entirely.

(Louisma v. Automated Fin., LLC, No. 11 C 2104, 2011 U.S. Dist. LEXIS 126120, at *5 (N.D. Ill.
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Nov. 1, 2011 (“A general assertion of privilege or protection is not enough to quash a subpoena in

toto.”); Cardinal Square, LLC v. Qbe Specialty Ins. Co., No. 1:23-cv-00114-JRS-MJD, 2023 U.S.

Dist. LEXIS 203996, at *9 (S.D. Ind. Sep. 19, 2023)(“While Rule 45(d)(3)(B)(i) permits the

quashing of a subpoena that requires “disclosing a trade secret or other confidential research,

development, or commercial information,” the Movants’ bare assertion that such information is at

issue is not sufficient to invoke that provision.”)). This is particularly true where a Stipulated

Protective Order is in place to protect RHR or Fifth Third from such public disclosure. Plaintiff

has made it abundantly clear to RHR that he would agree to the production of these documents

under either a confidential and/or attorney’s eyes only designation under the Stipulated Protective

Order.

          RHR’s relevance objection is similarly baseless. The fact is, Fifth Third has asserted that

it relied upon RHR’s assessment in promoting Spence to President and CEO. The underlying

documents used or consulted in preparing that assessment are, therefore, subject to discovery for

multiple reasons. This includes for purposes of verifying the accuracy of such an assessment, and

to compare Spence’s qualifications to those of an older, long-tenured executive whom Fifth Third

claims it never considered.

          B. Documents related to 2015 Carmichael Assessment

          As more thoroughly discussed in prior briefing,5 RHR claims that the 2015 Carmichael

assessment is irrelevant because it was prepared “five years earlier,” pursuant to a “different

request for services” and “in response to a different set of criterion.”

          The reality, however, is that the “services” provided by RHR in 2015 and 2020 were the

same – assess potential candidates for CEO of Fifth Third Bank, and report back its findings to the



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    See RHR’s Motion for Leave to File Sur-Reply (Doc # 62) and subsequent memoranda (Doc # 63-65).
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Bank. (Gregory Carmichael Deposition 295:21-24 (“[P]art of the due diligence for the board would

be to do exactly what they did with me. [Marsha Williams] referenced the – [the Board] thought

the process that I went through was excellent. [The Board] really liked the firm that did it.”); Id.

at 305:19-21 (“The board wanted to use the firm RHR, because they were very pleased with the

process that they went through prior with me in 2015.”); Eileen Mallesch Deposition 86:11-13

(“[RHR was] the external consultant to provide an external view of what was the candidate slate

[for CEO].”); Nicholas Akins Deposition 88:23-90:22 (In both 2015 and 2020, Fifth Third retained

RHR to assess potential candidates for the CEO position and RHR presented its findings to Fifth

Third’s Board of Directors)). Additionally, evidence shows that the 2015 and 2020 CEO Profiles

contain identical “essential leadership behavior” criterion. RHR’s mischaracterizations of the two

CEO assessment processes further highlights the relevancy of the 2015 assessment documents for

purposes of Plaintiff’s claims, especially if the 2020 assessment is determined to have deviated

from the typical CEO succession processes.

       RHR also appears to assert that because the Carmichael assessment was 5 years earlier,

and its “business terms” with Fifth Third only permit Fifth Third to utilize an assessment for 3

years. However, RHR’s unilaterally determined “business terms” do not dictate what is or is not

relevant when it comes to discovery sought as part of a litigation. Just because RHR’s “business

terms” state that an assessment of a potential candidate may not be used more than three years

after delivery does not mean such assessments or supporting documentation is not discoverable in

litigation. Thus, this objection is irrelevant as it is based solely on RHR’s business preferences,

not the law.

       C. Communications between RHR and Fifth Third Between March 18, 2020 and
          June 24, 2020
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        Through Plaintiff’s extrajudicial efforts, he has narrowed his request for RHR/Fifth Third

communications to a roughly three month gap in which no communications have been produced.

Plaintiff has requested these documents from the Bank on numerous occasions, to which Fifth

Third’s counsel has simply stated no such communications exist. However, other discovery,

including text messages, show that meetings and/or phone conferences occurred between RHR

and Fifth Third in these months. This includes texts between Fifth Third’s Chief Human Resources

Officer, Bob Shaffer, and Defendant Carmichael, in which they discuss monthly calls with RHR’s

consultant. (See Exhibit 12 to Smith Aff. – April 3, 2020 Text Messages between Shaffer and

Carmichael; Exhibit 13 to Smith Aff. – May 4, 2020 Text Messages between Shaffer and

Carmichael). It is curious that such monthly meetings occurred, yet there are zero communications

or documents from RHR to Fifth Third about such meetings.

        Despite Plaintiff’s good-faith efforts to work with RHR, RHR has not only refused to

produce any responsive documents, but it has also informed Plaintiff that it will not even conduct

a search for this limited time period because it feels it should not be asked to produce these

materials given Fifth Third’s counsel’s blanket assertions that no documents exist. Despite RHR’s

claims otherwise, this limited request presents minimal to no burden on RHR to comply. All

Plaintiff is requesting at this time is for RHR to search its records to confirm whether there were

any communications between RHR and Fifth Third between March 2020 and June 2020, and if so,

to produce those communications. Compelling such a search is reasonable and hardly a burden to

RHR.

IV.     CONCLUSION

        Plaintiff is seeking to move discovery forward in this case, including by obtaining relevant

documents he has requested from RHR over the last two years. RHR has refused to comply and
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has refused to cooperate with Plaintiff’s repeated extrajudicial efforts to resolve their objections.

Due to the foregoing reasons, Plaintiff respectfully requests that this Court exercise its authority

under Rule 45 to compel production, or in the alternative, to transfer the Motion to the Southern

District of Ohio to be heard in the underlying lawsuit styled Philip R. McHugh v. Fifth Third

Bancorp, et al., No. 1:21-cv-00238 (S.D. Ohio) should this Court deem necessary.

       WHEREFORE, pursuant to the forgoing and supporting exhibits, Movant’s Motion to

Compel, and the documents attached thereto, Movant respectfully requests that this Court enter an

order granting his Motion to Compel, compelling RHR to produce of the above-discussed

documents within seven days, granting Movant his reasonable costs and fees associated with

presenting this motion, and for such other relief as the Court deems appropriate.


DATED: February 14, 2025                              Respectfully Submitted,

                                                      PHILIP R. MCHUGH

                                                      /s/ Sabreena El-Amin_______
                                                      Sabreena El-Amin
                                                      CTM LEGAL GROUP
                                                      77 W. Washington Street, Suite 2120
                                                      Chicago, IL 60602
                                                      (312) 818-6700
                                                      sel-amin@ctmlegalgroup.com

                                                      /s/ Peter A. Saba_____
                                                      Peter A. Saba, Esq. (pro hac vice
                                                      application pending)
                                                      Joshua M. Smith, Esq. (pro hac vice
                                                      application pending)
                                                      STAGNARO, SABA
                                                      & PATTERSON CO., L.P.A.
                                                      2623 Erie Avenue
                                                      Cincinnati, Ohio 45208
                                                      (513) 533-2701
                                                      (513) 533-2711 (fax)
                                                      pas@sspfirm.com
                                                      jms@sspfirm.com
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                                        Co-Counsel for Plaintiff Philip R.
                                        McHugh
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                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a copy of the foregoing Motion was served on all
counsel of record this 14th day of February, 2025 via the Court’s CM/ECF system and that,
pursuant to Fed. R. Civ. P. 45(d)(2)(B)(i), notice and a copy of the Motion was provided to RHR
International, Ltd., via ordinary and electronic mail.

                                                   /s/ Sabreena El-Amin_______
                                                   Sabreena El-Amin
